                      UNITED STATES DISTRICT COURT FOR THE DISTRICT OF ALASKA
                         CIVIL DOCKET ENTRIES FOR CASE A90-0484--CV (HRH)
                                        "JOHN V USA ET AL"

                     Including terminated parties, excluding terminated counsel


   Presiding Judge: The Honorable H. Russel Holland, U.S. District Judge
  Magistrate Judge:
     Referral Rule:
             Filed: 12/01/90
            Closed: 01/07/00

      Jurisdiction: (2) U.S. Defendant
     PLF Diversity:
     DEF Diversity:

    Nature of Suit: (890) Other Statutory Actions
                    Subsistence
            Origin: (1) Original Proceeding
            Demand:
        Filing fee:
          Trial by:



Parties of Record:                                         Counsel of Record:

PLF 1.1               JOHN, KATIE                              Heather Kendall-Miller
                                                               Native American Rights Fund
                                                               420 L Street, Suite 505
                                                               Anchorage, AK 99501
                                                               907-276-0680
                                                               FAX 907-276-2466

PLF 2.1               CHARLES, DORIS                           Heather Kendall-Miller
                                                               (see above)

PLF 3.1               MENTASTA VILLAGE COUNCIL                 Heather Kendall-Miller
                                                               (see above)

PLF 4.1               ALASKA FEDERATION OF NATIVES             William E. Caldwell
                                                               POB 60996
                                                               Fairbanks, AK 99706
                                                               907-479-5849
                                                               FAX 907-457-5849

PLF 5.1               ALASKA, STATE OF                         Joanne M. Grace
                                                               Attorney General's Office
                                                               1031 W. 4th Avenue, Suite 200
                                                               Anchorage, AK 99501
                                                               907-269-5251

PLF 6.1               PERATROVICH                              No counsel found for this party!

DEF 1.1               UNITED STATES OF AMERICA                 Dean Dunsmore
                                                               Environment & Natural Resources
                                                               U.S. Department of Justice
                                                               801 B Street, Suite 504
                                                               Anchorage, AK 99501-3657
                                                               907-271-5452
                                                               FAX 907-271-5827




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                       UNITED STATES DISTRICT COURT FOR THE DISTRICT OF ALASKA
                     CIVIL DOCKET PARTY INFORMATION FOR CASE A90-0484--CV (HRH)
                                         "JOHN V USA ET AL"

                     Including terminated parties, excluding terminated counsel



Parties of Record:                                         Counsel of Record:

DEF 2.1         [T] LUJAN, MANUEL                              No counsel found for this party!

DEF 2.2               NORTON, GALE A.                          Dean Dunsmore
                                                               (see above)

DEF 3.1         [T] YEUTTER, CLAYTON K.                        No counsel found for this party!

DEF 3.2               VENEMAN, ANNE                            Dean Dunsmore
                                                               (see above)

DEF 4.1               ROSIER, CARL                             Joanne M. Grace
                                                               (see above)

DEF 5.1               MADIGAN, EDWARD R.                       Dean Dunsmore
                                                               (see above)

DEF 6.1               MCVEE, CURT, CHAIRMAN & MEMBER           Dean Dunsmore
                                                               (see above)

DEF 7.1               STIEGLITZ, WALTER O.                     Dean Dunsmore
                                                               (see above)

DEF 8.1               MOREHEAD, JOHN                           Dean Dunsmore
                                                               (see above)

DEF 9.1               BARTON, MICHAEL                          Dean Dunsmore
                                                               (see above)

DEF 10.1              SPRANG, EDWARD                           Dean Dunsmore
                                                               (see above)

DEF 11.1              CESAR, NILES                             Dean Dunsmore
                                                               (see above)

DEF 12.1        [T] JAMES, AL RUDY                             No counsel found for this party!

DEF 13.1        [T] THLAUGOOYAILTHTHLEE                        No counsel found for this party!

DEF 14.1        [T] JAMES, DIANA                               No counsel found for this party!

DEF 15.1        [T] JAMES, LOREN MURPHY                        No counsel found for this party!

DEF 16.1        [T] DAHKGHAGOOTCH                              No counsel found for this party!

DEF 17.1        [T] JAMES, NORMAN SCOTT                        No counsel found for this party!

DEF 18.1        [T] KAWDAHUNGTH                                No counsel found for this party!

DEF 19.1        [T] JAMES, MONICA                              No counsel found for this party!




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                     CIVIL DOCKET PARTY INFORMATION FOR CASE A90-0484--CV (HRH)
                                         "JOHN V USA ET AL"

                     Including terminated parties, excluding terminated counsel



Parties of Record:                                         Counsel of Record:

DEF 20.1        [T] JAMES, ANDREW ERIC                         No counsel found for this party!

DEF 21.1        [T] JAMES, CHARLES MURPHY SR.                  No counsel found for this party!

DEF 22.1        [T] KOOGHAITH                                  No counsel found for this party!

DEF 23.1        [T] SANDIDGE, SHERRI JEAN                      No counsel found for this party!

DEF 24.1        [T] SANDIDGE, JERRY                            No counsel found for this party!

DEF 25.1        [T] SANDIDGE, BRIAN MURPHY                     No counsel found for this party!

DEF 26.1        [T] SANDIDGE, DALE J.                          No counsel found for this party!

DEF 27.1        [T] SANDIDGE, MICHAEL                          No counsel found for this party!

DEF 28.1        [T] JAMES, CHARLES MURPHY JR.                  No counsel found for this party!

DEF 29.1        [T] JAMES, GEORGE SUCKINAW JR.                 No counsel found for this party!

DEF 30.1        [T] WHATSTAW                                   No counsel found for this party!

DEF 31.1        [T] JAMES, DENISE                              No counsel found for this party!

DEF 32.1        [T] JAMES, GEORGE S. III                       No counsel found for this party!

DEF 33.1        [T] JAMES, LISA                                No counsel found for this party!

DEF 34.1        [T] JAMES, DAVID                               No counsel found for this party!

DEF 35.1        [T] JAMES, BRIAN                               No counsel found for this party!

DEF 36.1        [T] JAMES, GARY                                No counsel found for this party!

DEF 37.1        [T] JAMES, FRED                                No counsel found for this party!

DEF 38.1        [T] JAMES, BENJAMIN SR.                        No counsel found for this party!

DEF 39.1        [T] YUNCHKWADAY                                No counsel found for this party!

DEF 40.1        [T] JAMES, FRANKLIN HARVEY "ONGI" SR.          No counsel found for this party!

DEF 41.1        [T] JAMES, MARGE                               No counsel found for this party!

DEF 42.1        [T] JAMES, FRANKLIN HARVEY JR.                 No counsel found for this party!

DEF 43.1        [T] JAMES, CINDY                               No counsel found for this party!

DEF 44.1        [T] JAMES, AMANDA                              No counsel found for this party!




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                     CIVIL DOCKET PARTY INFORMATION FOR CASE A90-0484--CV (HRH)
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                     Including terminated parties, excluding terminated counsel



Parties of Record:                                         Counsel of Record:

DEF 45.1        [T] JAMES, NICHOLAS                            No counsel found for this party!

DEF 46.1        [T] JAMES, TRISTAN                             No counsel found for this party!

DEF 47.1        [T] THARP, COLLEEN                             No counsel found for this party!

DEF 48.1        [T] THARP, COLIN                               No counsel found for this party!

DEF 49.1        [T] CALLAHAN, KEVIN RICHARD                    No counsel found for this party!

DEF 50.1        [T] CALLAHAN, CHRISTINE MARI                   No counsel found for this party!

DEF 51.1        [T] CALLAHAN, NATASHA                          No counsel found for this party!

DEF 52.1        [T] BECK, MERRIE                               No counsel found for this party!

DEF 53.1        [T] BECK, MICHAEL                              No counsel found for this party!

DEF 54.1        [T] JAMES, EMBERT F.                           No counsel found for this party!

DEF 55.1        [T] JAMES, BONNIE                              No counsel found for this party!

DEF 56.1        [T] JAMES, CARRIE LYNN                         No counsel found for this party!

DEF 57.1        [T] JAMES, ROBERT                              No counsel found for this party!

DEF 58.1        [T] JAMES, LEO                                 No counsel found for this party!

DEF 59.1        [T] JAMES, TINA                                No counsel found for this party!

DEF 60.1        [T] JAMES, JESSE                               No counsel found for this party!

DEF 61.1        [T] JAMES, DARREL D.                           No counsel found for this party!

DEF 62.1        [T] NEXT FRIEND FOR: 4 CHILDREN &              No counsel found for this party!
                    GRANDCHILDREN

DEF 63.1        [T] MILES, GEORGEANNE                          No counsel found for this party!

DEF 64.1        [T] MILES, EARL                                No counsel found for this party!

DEF 65.1        [T] MILES, EARL JR.                            No counsel found for this party!

DEF 66.1        [T] MILES, ERIC                                No counsel found for this party!

DEF 67.1        [T] JAMES, HENRY                               No counsel found for this party!

DEF 68.1        [T] JAMES, CHERYL                              No counsel found for this party!

DEF 69.1        [T] BELONOVITCH, ROBERTA LYNN                  No counsel found for this party!




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Parties of Record:                                         Counsel of Record:

DEF 70.1        [T] BELONOVITCH, JASON                         No counsel found for this party!

DEF 71.1        [T] BELONOVITCH, SONNY                         No counsel found for this party!

DEF 72.1        [T] DAVIS, PATRICA                             No counsel found for this party!

DEF 73.1        [T] NEXT FRIEND FOR:                           No counsel found for this party!

DEF 74.1        [T] 2 DAUGHTERS                                No counsel found for this party!

DEF 75.1        [T] PETERSON, MARGARET                         No counsel found for this party!

DEF 76.1        [T] KI                                         No counsel found for this party!

DEF 77.1        [T] PETERSON, LEROY                            No counsel found for this party!

DEF 78.1        [T] PETERSON, SHERRIE LEE                      No counsel found for this party!

DEF 79.1        [T] KEYS, BARBARA JEAN                         No counsel found for this party!

DEF 80.1        [T] KEYS, TERRY LEE                            No counsel found for this party!

DEF 81.1        [T] KEYS, SHAWN CLAUDE                         No counsel found for this party!

DEF 82.1        [T] KEYS, MARGARET JOY                         No counsel found for this party!

DEF 83.1        [T] KEYS, MARK ALAN                            No counsel found for this party!

DEF 84.1        [T] SNYDER, KATHLENE ALICE                     No counsel found for this party!

DEF 85.1        [T] SNYDER, WAYNE MICHAEL                      No counsel found for this party!

DEF 86.1        [T] SNYDER, SKYLA MARIE                        No counsel found for this party!

DEF 87.1        [T] SNYDER, KATRENA ELIZABETH                  No counsel found for this party!

DEF 88.1        [T] PETERSON, STEWART EMERY                    No counsel found for this party!

DEF 89.1        [T] FREUND, TONYA ANN                          No counsel found for this party!

DEF 90.1        [T] PETERSON, LORI ANN                         No counsel found for this party!

DEF 91.1        [T] HANNING, CINDY JEAN                        No counsel found for this party!

DEF 92.1        [T] PETERSON, DONNIE                           No counsel found for this party!

DEF 93.1        [T] PETERSON, RON                              No counsel found for this party!

DEF 94.1        [T] PETERSON, STEVEN                           No counsel found for this party!




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                     CIVIL DOCKET PARTY INFORMATION FOR CASE A90-0484--CV (HRH)
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Parties of Record:                                         Counsel of Record:

DEF 95.1        [T] WINSTON, BETSY                             No counsel found for this party!

DEF 96.1        [T] KUSHNICK, MATILDA                          No counsel found for this party!

DEF 97.1        [T] KUSHNICK, WILLIE                           No counsel found for this party!

DEF 98.1        [T] NEXT FRIEND FOR:                           No counsel found for this party!

DEF 99.1        [T] KUSHNICK, WILLIAM JR.                      No counsel found for this party!

DEF 100.1       [T] MCALPIN, AMELIA                            No counsel found for this party!

DEF 101.1       [T] MCALPIN, SAYRES MICHAEL                    No counsel found for this party!

DEF 102.1       [T] MCALPIN, RICHARD                           No counsel found for this party!

DEF 103.1       [T] MCALPIN, MARTHA                            No counsel found for this party!

DEF 104.1       [T] MCALPIN, MICHAELIN                         No counsel found for this party!

DEF 105.1       [T] MCALPIN, MICHAEL                           No counsel found for this party!

DEF 106.1       [T] MCALPIN, SAYERS                            No counsel found for this party!

DEF 107.1       [T] PETERSON, MARIE                            No counsel found for this party!

DEF 108.1       [T] PETERSON, DAVID                            No counsel found for this party!

DEF 109.1       [T] AMBROSIA, AVA                              No counsel found for this party!

DEF 110.1       [T] AMBROSIA, GERARD                           No counsel found for this party!

DEF 111.1       [T] AMBROSIA, SHANNON                          No counsel found for this party!

DEF 112.1       [T] AMBROSIA, CARLENE                          No counsel found for this party!

DEF 113.1       [T] AMBROSIA, CARPA                            No counsel found for this party!

DEF 114.1       [T] CHANCEY, DARLENE                           No counsel found for this party!

DEF 115.1       [T] CHANCEY, TEASHA                            No counsel found for this party!

DEF 116.1       [T] CHANCEY, JASON                             No counsel found for this party!

DEF 117.1       [T] FRAZER, YVONNE                             No counsel found for this party!

DEF 118.1       [T] FRAZER, MICHAEL                            No counsel found for this party!

DEF 119.1       [T] GERLITS, BRENDA                            No counsel found for this party!




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Parties of Record:                                         Counsel of Record:

DEF 120.1       [T] GERLITS, MIKE                              No counsel found for this party!

DEF 121.1       [T] GERLITS, DAVID                             No counsel found for this party!

DEF 122.1       [T] GERLITS, JACOB                             No counsel found for this party!

DEF 123.1       [T] GERLITS, BRANDON                           No counsel found for this party!

DEF 124.1       [T] FRAZER, EUGENE                             No counsel found for this party!

DEF 125.1       [T] FRAZER, KELLY                              No counsel found for this party!

DEF 126.1       [T] FRAZER, MICHAEL J.                         No counsel found for this party!

DEF 127.1       [T] NEXT FRIEND FOR:                           No counsel found for this party!

DEF 128.1       [T] DAUGHTER FRAZER                            No counsel found for this party!

DEF 129.1       [T] FRAZER, CHERYL                             No counsel found for this party!

DEF 130.1       [T] FRAZER, ALICIA                             No counsel found for this party!

DEF 131.1       [T] FRAZER, ASHLEY                             No counsel found for this party!

DEF 132.1       [T] FRAZER, JUSTIN                             No counsel found for this party!

DEF 133.1       [T] KENNEDY, MARGARET                          No counsel found for this party!

DEF 134.1       [T] PERATROVICH, ANNA                          No counsel found for this party!

DEF 135.1       [T] VIGIL, TRINA                               No counsel found for this party!

DEF 136.1       [T] VIGIL, STEPHEN                             No counsel found for this party!

DEF 137.1       [T] PERATROVICH, JEARIANN                      No counsel found for this party!

DEF 138.1       [T] SMITH, HENRIETTA                           No counsel found for this party!

DEF 139.1       [T] SMITH, TINA                                No counsel found for this party!

DEF 140.1       [T] SMITH, RICHARD JR.                         No counsel found for this party!

DEF 141.1       [T] SMITH, BONNIE                              No counsel found for this party!

DEF 142.1       [T] ANNISKETTE, DAVID III                      No counsel found for this party!

DEF 143.1       [T] ANNISKETTE, DAVID LEIF                     No counsel found for this party!

DEF 144.1       [T] ANNISKETTE, PHYLLIS                        No counsel found for this party!




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Parties of Record:                                         Counsel of Record:

DEF 145.1       [T] ANNISKETTE,    EDWARD                      No counsel found for this party!

DEF 146.1       [T] BJORNSTROM, JESSE                          No counsel found for this party!

DEF 147.1       [T] ANNISKETTE, SHARON                         No counsel found for this party!

DEF 148.1       [T] STADURS, DUANE                             No counsel found for this party!

DEF 149.1       [T] STADURS, TYLENA                            No counsel found for this party!

DEF 150.1       [T] ANNISKETTE, FRED                           No counsel found for this party!

DEF 151.1       [T] ANNISKETTE, PATRICK                        No counsel found for this party!

DEF 152.1       [T] ANNISKETTE, PATRICK JR.                    No counsel found for this party!

DEF 153.1       [T] BJORNSTROM, KAREN                          No counsel found for this party!

DEF 154.1       [T] BJORNSTROM, LEAH                           No counsel found for this party!

DEF 155.1       [T] BJORNSTROM, JANEA                          No counsel found for this party!

DEF 156.1       [T] RUSSELL, MARY ANN                          No counsel found for this party!

DEF 157.1       [T] RUSSELL, MICHAEL JR.                       No counsel found for this party!

DEF 158.1       [T] RUSSELL, MELISSA                           No counsel found for this party!

DEF 159.1       [T] ANNISKETTE, CINDY                          No counsel found for this party!

DEF 160.1       [T] ANNISKETTE, MITCHELL RAY                   No counsel found for this party!

DEF 161.1       [T] COFFELT, ARLENE                            No counsel found for this party!

DEF 162.1       [T] COLGROVE, BURT                             No counsel found for this party!

DEF 163.1       [T] COLGROVE, AARON                            No counsel found for this party!

DEF 164.1       [T] COFFELF, GEORGIE                           No counsel found for this party!

DEF 165.1       [T] COFFELT, AVA                               No counsel found for this party!

DEF 166.1       [T] DOUHITT, DURETTA                           No counsel found for this party!

DEF 167.1       [T] DOUHITT, ROGER                             No counsel found for this party!

DEF 168.1       [T] DOUHITT, SON                               No counsel found for this party!

DEF 169.1       [T] CHARLES, MELVIN SR.                        No counsel found for this party!




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                        UNITED STATES DISTRICT COURT FOR THE DISTRICT OF ALASKA
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                                          "JOHN V USA ET AL"

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Parties of Record:                                          Counsel of Record:

DEF 170.1       [T] CHARLES, MELVIN JR.                         No counsel found for this party!

DEF 171.1       [T] NEXT FRIEND FOR:                            No counsel found for this party!

DEF 172.1       [T] CHARLES, SON JR.                            No counsel found for this party!

DEF 173.1       [T] CHARLES, DAUGHTER                           No counsel found for this party!

DEF 174.1       [T] CHARLES, DANIEL                             No counsel found for this party!

DEF 175.1       [T] CHARLES, MICHAEL                            No counsel found for this party!

DEF 176.1       [T] CARVER, LAVINA                              No counsel found for this party!

DEF 177.1       [T] HORWATH, PATRICK                            No counsel found for this party!

DEF 178.1       [T] HORWATH, STARR                              No counsel found for this party!

DEF 179.1       [T] HORWATH, NADINE                             No counsel found for this party!

DEF 180.1       [T] SHERWOOD, WALLY                             No counsel found for this party!

DEF 181.1       [T] SHERWOOD, CLINT                             No counsel found for this party!

DEF 182.1       [T] CHARLES, MARVIN                             No counsel found for this party!

DEF 183.1       [T] CHARLES, ANNETTE                            No counsel found for this party!

DEF 184.1       [T] CHARLES, DAUGHTER                           No counsel found for this party!

DEF 185.1       [T]                                             No counsel found for this party!

DEF 186.1       [T] CHARLES, SON                                No counsel found for this party!

DEF 187.1       [T] CHARLES, MARVIN JR.                         No counsel found for this party!

DEF 188.1       [T] CHARLES, MURPHY                             No counsel found for this party!

DEF 189.1       [T] CHARLES, ANTHONY                            No counsel found for this party!

DEF 190.1       [T] FOX, VIRGINIA                               No counsel found for this party!

DEF 191.1       [T] LAUTH, MARGARET ALLEN                       No counsel found for this party!

DEF 192.1       [T] LAUTH, BONNIE                               No counsel found for this party!

DEF 193.1       [T] LAUTH, DONNA                                No counsel found for this party!

DEF 194.1       [T] CHARLES, GARY                               No counsel found for this party!




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                       UNITED STATES DISTRICT COURT FOR THE DISTRICT OF ALASKA
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Parties of Record:                                         Counsel of Record:

DEF 195.1       [T] CHARLES, DAUGHTER                          No counsel found for this party!

DEF 196.1       [T] CHARLES, SON                               No counsel found for this party!

DEF 197.1       [T] CHARLES, TOMMY                             No counsel found for this party!

DEF 198.1       [T] BREW, DONNA                                No counsel found for this party!

DEF 199.1       [T] BREW, RON                                  No counsel found for this party!

DEF 201.1       [T] BREW, JEANETTE                             No counsel found for this party!

DEF 201.2       [T] CHARLES, SHARON                            No counsel found for this party!

DEF 202.1       [T] KUSHNICK, WILLIAM                          No counsel found for this party!

DEF 203.1       [T] CHARLES, DESTINY                           No counsel found for this party!

DEF 204.1       [T] CHARLES, GEORGINA                          No counsel found for this party!

DEF 205.1       [T] CHARLES, SUNSHINE                          No counsel found for this party!

DEF 206.1       [T] CHARLES, DAUGHTER                          No counsel found for this party!

DEF 207.1       [T] PLUMLY, LYNN                               No counsel found for this party!

DEF 208.1       [T] PLUMLY, RICHARD                            No counsel found for this party!

DEF 209.1       [T] PESHAY, TILLY                              No counsel found for this party!

DEF 210.1       [T] PESHAY, RUTH                               No counsel found for this party!

DEF 211.1       [T] CHARLES, JAMES                             No counsel found for this party!

DEF 212.1       [T] LEWIS, GERALDINE                           No counsel found for this party!

DEF 213.1       [T] LEWIS, JENNIFER                            No counsel found for this party!

DEF 214.1       [T] LEWIS, CHRISTINE                           No counsel found for this party!

DEF 215.1       [T] LEWIS, KEVIN                               No counsel found for this party!

DEF 216.1       [T] CHARLES, BRUCE                             No counsel found for this party!

DEF 217.1       [T] NEXT FRIEND FOR:                           No counsel found for this party!

DEF 218.1       [T] CHARLES, DAUGHTER                          No counsel found for this party!

DEF 219.1       [T] PITCHFORD, CANDACE                         No counsel found for this party!




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                     Including terminated parties, excluding terminated counsel



Parties of Record:                                         Counsel of Record:

DEF 220.1       [T] PITCHFORD, JAMELIA                         No counsel found for this party!

DEF 221.1       [T] SUCKINAW, DAVID                            No counsel found for this party!

DEF 222.1       [T] SUCKINAW, RUTH                             No counsel found for this party!

DEF 223.1       [T] SUCKINAW, PATRICK JR.                      No counsel found for this party!

DEF 224.1       [T] SUCKINAW, MICHAEL                          No counsel found for this party!

DEF 225.1       [T] SUCKINAW, HONEY                            No counsel found for this party!

DEF 226.1       [T] SUCKINAW, ROGER                            No counsel found for this party!

DEF 227.1       [T] SUCKINAW, JACQUELINE                       No counsel found for this party!

DEF 228.1       [T] SUCKINAW, RAYMOND                          No counsel found for this party!

DEF 229.1       [T] SUCKINAW, THOMAS JOHN                      No counsel found for this party!

DEF 230.1       [T] SUCKINAW, CHARLIES                         No counsel found for this party!

DEF 231.1       [T] KEENE, HELEN                               No counsel found for this party!

DEF 232.1       [T] KEENE, CHARLIE JR                          No counsel found for this party!

DEF 233.1       [T] KEENE, MELISSA                             No counsel found for this party!

DEF 234.1       [T] KEENE, CECILIA                             No counsel found for this party!

DEF 235.1       [T] KATZEEK, CHARLENE                          No counsel found for this party!

DEF 236.1       [T] KATZEEK, ANNA DIANE                        No counsel found for this party!

DEF 237.1       [T] KEENE, EUGENE RUSSELL                      No counsel found for this party!

DEF 238.1       [T] SUCKINAW, JACKIE                           No counsel found for this party!

DEF 239.1       [T] SOUTH KUIU THLINGIT NATION                 No counsel found for this party!

AMC 1.1         [T] INTERNATIONAL ASSOC OF FISH &              No counsel found for this party!
                    WILDLIFE AGENCIES

AMC 2.1               CORDOVA DISTRICT FISHERMEN UNITED        Lewis F. Gordon
                                                               Ashburn & Mason
                                                               1130 W. 6th Avenue, Suite 100
                                                               Anchorage, AK 99501
                                                               907-276-4331

AMC 3.1               PENINSULA MARKETING ASSOC                Michael A.D. Stanley
                                                               POB 020449
                                                               Juneau, AK 99802
                                                               907-586-6077




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                     CIVIL DOCKET PARTY INFORMATION FOR CASE A90-0484--CV (HRH)
                                         "JOHN V USA ET AL"

                     Including terminated parties, excluding terminated counsel



Parties of Record:                                         Counsel of Record:

AMC 4.1               CONCERNED AREA M FISHERMEN               Michael A.D. Stanley
                                                               (see above)

AMC 5.1               ALEUTIANS EAST BOROUGH                   Michael A.D. Stanley
                                                               (see above)

AMC 6.1               SHUMAGIN CORP                            Michael A.D. Stanley
                                                               (see above)

AMC 7.1               QAGAN TAYAGUNGIN TRIBAL COUNCIL          Michael A.D. Stanley
                                                               (see above)

AMC 8.1               AGDAAGUX TRIBAL COUNCIL                  Michael A.D. Stanley
                                                               (see above)

AMC 9.1               NELSON LAGOON VILLAGE COUNCIL            Michael A.D. Stanley
                                                               (see above)

AMC 10.1              FALSE PASS TRIBAL COUNCIL                Michael A.D. Stanley
                                                               (see above)

AMC 11.1        [T] ELIM, NATIVE VILLAGE OF                    No counsel found for this party!

AMC 12.1        [T] NOME ESKIMO COMMUNITY                      No counsel found for this party!

AMC 13.1        [T] KAWERAK INC                                No counsel found for this party!

AMC 14.1        [T] ARCTIC REGIONAL FISH & GAME                No counsel found for this party!
                    COUNCIL




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                                         For all filing dates


   Presiding Judge: The Honorable H. Russel Holland, U.S. District Judge
  Magistrate Judge:
     Referral Rule:
             Filed: 12/01/90
            Closed: 01/07/00

      Jurisdiction: (2) U.S. Defendant
     PLF Diversity:
     DEF Diversity:

    Nature of Suit: (890) Other Statutory Actions
                    Subsistence
            Origin: (1) Original Proceeding
            Demand:
        Filing fee:
          Trial by:



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  211 -   1     08/10/94   Transcript of Hearing re: Pltfs' Motion for Preliminary Injunction, held
                           06/07/94; ECR Demeter.

  212 -   1     08/12/94   Further Status Report DEF 1-3; 5-11

  213 -   1     08/30/94   HRH Minute Order re: status report due by 10-14-94. cc:cnsl.

  214 -   1     11/01/94   HRH Minute Order that counsel file future reports in each of the jointly
                           managed cases so each file will be complete. cc cnsl.

  215 -   1     11/22/94   ZZZ 1 (E. Smith) Status Report per 10/26/94 order

  216 -   1     11/29/94   HRH Minute Order; 11/22/94 status report accepted; further report due
                           w/in 7 days following the expiration of the 60-day public comment period
                           following publication ew "where II" & "selected but not conveyed"
                           issues. cc cnsl.

  217 -   1     02/28/95   Stipulation and Order re substitution of cnsl Robert Anderson   replace
                           by Heather Kendall. Cy cnsl

  218 -   1     04/18/95   DEF 1-3 Status Report re: public comments; suggest further status report
                           be filed around 7/1/95

  219 -   1     05/01/95   HRH Order (Case Status); further status report is due 7/1/95. cc cnsl

  220 -   1     05/15/95   Mandate from 9CCA. D.C. REVERSED AND REMANDED. cc: cnsl, Judge Holland.
                           94-35480, 94-35481.

  221 -   1     07/03/95   DEF 1-3; 5-11 Status Report pursuant to court's order (219-1) requesting
                           status conference

  222 -   1     07/10/95   Cert cy Mandate from 9CCA re 94-35480 & 94-35481; mandate issued
                           prematurely and being recalled pending disposition for rehearing. cy
                           cnsl, Judge Holland

  223 -   1     07/19/95   HRH Minute Order, status conf set Wed., Aug. 16, 1995, at 4:00 p.m..
                           cc:cnsl


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  224 -   1     08/29/95   HRH Order (case status) that gov't file status report by 1-5-96,
                           supplements or responses to status report due 1-12-96. cc cnsl

  225 -   1     01/05/96   DEF 1-3; 5-11 motion to enlarge time till 2/5/96 to file status rprt
                           pursuant to crt order.

  226 -   1     01/11/96   HRH Order granting motion to enlarge time till 2/5/96 to file status
                           rprt pursuant to crt order (225-1). Cy cnsl

  227 -   1     01/29/96   Fld cert cy Mandate from 9CCA. USDC Judgment REVERSED AND REMANDED. cc:
                           cnsl, Judge Holland.

  228 -   1     02/05/96   DEF 1-3; 5-11 Report to the court

  229 -   1     02/07/96   HRH Order that court's decision of 3-30-96, as set out at pages 21-42,
                           is VACATED; the issue therein discussed shall be deemed controlled by
                           the foregoing decision of the court of appeals; counsel to confer and
                           advise court by 3-7-96 of their views as to how the court should proceed
                           w/this case. cc cnsl

  230 -   1     02/12/96   PLF 5 Response to Federal Defts' Report

  231 -   1     03/07/96   PLF 1-5 motion (request) for status conference

  232 -   1     03/08/96   DEF 1-4; 6-11 motion for enlargement of time until 3-22-96 to file case
                           status report

  233 -   1     03/12/96   HRH Minute Order granting request for status conference (231-1); CMC to
                           arrange stat conf for date prior to 4/5/96 or after 4/22/96; motion for
                           extension of time to file status report (232-1) moot in light of this
                           order. cc cnsl

  234 -   1     03/14/96   HRH Minute Order that status conf is set 4:00 p.m. 4/4/96 (chambers).
                           cc cnsl

  235 -   1     04/11/96   HRH Minute Order re stat conf hel in jointly managed cases 4/4/96; it is
                           not required that all parites in all cases be served with all papers
                           filed in any case. cc cnsl

  236 -   1     05/14/96   DEF 1-3; 5-11 Report to the court

  237 -   1     05/14/96   DEF 1-3; 5-11 Answer to Second Amended Complaint for declaratory and
                           injunctive relief

  238 -   1     06/12/96   Stipulation to a preliminary injunction with respect to the subsistence
                           fishery at Batzulnetas.

  239 -   1     06/14/96   HRH Order granting stip re: preliminary injunction with respect ot the
                           subsistence fishery at Batzulnetas. cc cnsl

  240 -   1     10/23/96   HRH Minute Order that cnsl for govt to provide report on status of
                           proposed subsistence managment regs by 11/7/96. cc cnsl

  241 -   1     11/07/96   DEF 1-3; 5-11 Report re: in response to order at #240 filed 10/23/96.

  242 -   1     11/14/96   HRH Minute Order that no other action will be taken during FY 1997.     cc
                           cnsl

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  243 -   1     06/19/97   Stipulation to a preliminary injunction with respect to the subsistence
                           fishery at Bazulnetas.

  244 -   1     06/24/97   HRH Order granting stipulation for preliminary injunction re Batzulnetas
                           fishery site. cy cnsl

  245 -   1     11/17/97   HRH Order staying case to 7-1-98.    cy cnsl

  246 -   1     01/22/98   DEF 1-3; 5-11 (federal defendant's) motion for entry of final judgment
                           dismissing Count III in No. A92-0264 CV w/ att memo & exhs.

  247 -   1     02/12/98   HRH Minute Order granting motion for entry of final judgment dismissing
                           Count III in No. A92-0264 CV (246-1). cc: cnsl

  248 -   1     02/13/98   HRH Judgment that CT III of A92-264CV is dismissed w/prejudice pur R
                           54(b). cc: cnsl, O&J 10303

  249 -   1     02/20/98   PLF 1-5 motion for enlargment of time in which to file a bill of costs
                           and move for an award of attorneys fees in case no. A92-0264 CV.

  250 -   1     02/27/98   DEF 1-3; 5-11 non-opposition to PLF 1-5 motion for enlargment of time in
                           which to file a bill of costs and move for an award of attorneys fees in
                           case no. A92-0264 CV. (249-1)

  251 -   1     03/12/98   HRH Order granting motion for enlargment of time in which to file a bill
                           of costs to 3/27/98 (249-1). cc: cnsl

  252 -   1     03/24/98   PLF 1-5; DEF 1-11 Stipulation to ext time til crt enters fnl judg on all
                           cts in A92-264 CV to file a bill of costs & move for an award of
                           attorneys fees in A92-264 CV.

  252 -   2     03/27/98   HRH Order approving stip. cc: cnsl

  253 -   1     06/09/98   PLF 1-3; 5; DEF 1-3; 5-11 Stipulation to a preliminary injunction
                           w/respect to the subsistence fishery at Batzulnetas.

  254 -   1     06/10/98   HRH Order re preliminary injunction w/respect to the subsistence fishery
                           at Batzulnetas. cc: cnsl

  255 -   1     07/08/98   HRH Minute Order staying case to 12/1/98 or further order of court. cc:
                           cnsl

  256 -   1     07/27/98   PLF 1-5 Notice to court re: change of address for plaintiffs' attorneys.

  257 -   1     12/09/98   HRH Minute Order directing cnsl to confer & file status report by
                           1/15/99. cc: cnsl

  258 -   1     01/15/99   PLF 5 status rpt in response to ord of 12/09/98; parties propose stay
                           continue until 10/01/99.

  259 -   1     01/25/99   HRH Minute Order that further proceedings stayed until 10/1/99;
                           injunction to remain in place and State will not object to a mot for
                           atty fees based upon stay. cc: cnsl

  260 -   1     06/14/99   PLF 1-3; 5; DEF 1-11 Stipulation to prelim injunction w/respect to the
                           subsistence fishery at Batzulnetas.



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  261 -   1     06/16/99   HRH Order granting PI re subsistence fishery at Batzulnetas. cc: cnsl

  262 -   1     10/08/99   HRH Minute Order that status report or stip to dismiss due 11/9/99. cc:
                           cnsl

  263 -   1     11/03/99   PLF 1-5 Joint Unopposed Motion for ext of time of 30 days to respond to
                           ord of 10/08/99 (262-1).

  264 -   1     11/05/99   HRH Order granting ext of time to 12/9/99 to file dismissal or status
                           report. cc: cnsl

  265 -   1     12/08/99   PLF 1-5 Joint Unopposed Motion   for ext of time until 12/16/99 to file
                           status rpt.

  266 -   1     12/10/99   HRH Order granting mot for ext of time until 12/16/99 to file dismissal
                           or stat rpt. cc: cnsl

  267 -   1     12/16/99   DEF 1-3; 5-11 Report in Response to Order (266-1).

  268 -   1     01/06/00   HRH Order re: case status; crt readopts all rulings on merits of plfs'
                           claims heretofore made; rulings deemed final; all remaining claims
                           dismissed w/o prejudice as moot; any new case filed by a party to these
                           consolidated cases shall be assigned directly to Judge Holland. cc: cnsl

  269 -   1     01/07/00   HRH Judgment that crt's substantive orders in this case are reaffirmed &
                           are now final as to all parties. Any issues or claims not heretofore
                           decided by crt are dismissed w/o prejudice as to all parties. The crt
                           retains jurisdiction of this matter for enforcement of its orders. cc:
                           cnsl, O&J 10793

  270 -   1     01/20/00   PLF 1-4 motion to modify or amend the judgment to maintain the terms of
                           the 1999 preliminary injuction against the Federal defs through 12/00/00
                           w/att exh.

 NOTE -   2     01/26/00   Notation: appeal fee ($105) paid w/receipt 00111075.

  271 -   1     01/26/00   PLF 5; DEF 4 appeal to 9CCA of (269-1) filed 01/07/00 w/att
                           representation stmt. cc:cnsl, Judge Holland, 9CCA

 NOTE -   1     01/31/00   Transmittal: Forwarded notice of appeal (271-1) & CADs stmt to 9CCA.

  272 -   1     02/07/00   DEF 1-3; 5-11 response & non-opposition to PLF 1-4 motion to modify or
                           amend the judgment to maintain the terms of the 1999 preliminary
                           injuction against the Federal defs through 12/00/00 (270-1).

  273 -   1     02/07/00   PLF 5; DEF 4 non-opposition to PLF 1-4 motion to modify or amend the
                           judgment to maintain the terms of the 1999 preliminary injuction against
                           the Federal defs through 12/00/00 (270-1) w/att exh.

  274 -   1     02/09/00   PLF 5; DEF 4 Transcript Designation re: notice of appeal (271-1); no
                           transcripts ordered.

  275 -   1     02/11/00   HRH Order granting motion to modify or amend the judgment     (270-1). cc:
                           cnsl

  276 -   1     02/14/00   HRH amended judgment. cc: cnsl, O&J 10821


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  277 -   1     02/14/00   Cy 9CCA Certificate of Record. (271-1) cc: cnsl, Judge Holland 9CCA
                           [orig]

  278 -   1     02/23/00   PLF 4 mot to withdraw H. Kendall-Miller & substitute counsel W. Caldwell
                           for intervenor Alaska Federation of Natives (plf 4).

  279 -   1     02/23/00   PLF 4 Attorney Appearance of W. Caldwell.

  278 -   2     02/24/00   Order granting "stip" for attorney substitution.   cc: cnsl, W. Caldwell

  280 -   1     02/24/00   PLF 1-3 Unopposed Motion for extension of time until 4/30/00 to file
                           plf's application for award of costs & atty fees.

  281 -   1     02/25/00   HRH Order granting plfs' unoppo mot for ext of time to 4/30/00 to file
                           bill of costs and atty fees. cc: cnsl

  282 -   1     05/01/00   PLF 1-5 motion (application) for award of costs & attorneys' fees w/att
                           memo, declaration, & exhs.

  283 -   1     05/02/00   PLF 1-5 Notice of filing orig ff of R. Anderson re: PLF 1-5 motion
                           (application) for award of costs & attorneys' fees (282-1) w/att exh
                           (aff of Anderson).

  284 -   1     05/18/00   DEF 1-3; 5-11 motion for enlargement of time to file response to
                           plaintiff's application for award of costs & atty fees until 7/13/00.

  285 -   1     05/19/00   PLF 5; DEF 4 motion for a stay of the application for attorneys' fees or
                           in the alternative for an extension of time of 45 days.

  286 -   1     06/13/00   HRH Order denying motion (application) for award of costs & attorneys'
                           fees (282-1) with leave to renew within 14 days following the filing of
                           mandate/jmt of the 9CCA deciding the State's appeal; granting motion for
                           a stay of the application for attorneys' fees or in the (285-1);
                           terminating in light of this order: motion for enlargement of time to
                           file response to plaintiff's application (284-1) as moot. cc: cnsl

  287 -   1     06/12/01   9CCA Judgment re: notice of appeal (271-1) that the district court's
                           decision is AFFIRMED. cc: cnsl, Judge Holland

  288 -   1     10/11/01   PLF 1-4 motion (joint) for ext to renew & supplement application for
                           costs & fees to 30 days following Supreme Court's disposition of pending
                           petition

  289 -   1     10/24/01   PLF 1-5 Supplement re: PLF 1-4 motion (joint) for ext to renew &
                           supplement application for costs & fees to 11/30/01 (288-1)

  290 -   1     10/29/01   DEF 1-3; 5-11 opposition to PLF 1-4 motion (joint) for ext to renew &
                           supplement application for costs & fees to 30 days following Supreme
                           Court's disposition of pending petition (288-1)

  291 -   1     10/29/01   PLF 5; DEF 4 opposition to PLF 1-4 motion (joint) for ext to renew &
                           supplement application for costs & fees to 30 days following Supreme
                           Court's disposition of pending petition (288-1)

  292 -   1     11/07/01   PLF 1-4 reply to opposition to PLF 1-4 motion (joint) for ext to renew &
                           supplement application for costs & fees to 30 days following Supreme
                           Court's disposition of pending petition (288-1)

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  293 -   1     11/15/01   HRH Order granting motion (joint) for ext to renew & supplement
                           application for costs & fees (288-1). Plfs & intervenor's renewed &
                           supp application for attorney's fees to be served and filed on or before
                           30 days from the date of this order. cc: cnsl

  294 -   1     11/30/01   PLF 1-5 motion (renewed & supplemental) for award of costs & attorneys'
                           fees   w/att exhs

  295 -   1     12/17/01   DEF 1-3; 5-11 Unopposed motion for enlargement of time to 1/31/02 to
                           file responses to plaintiffs' renewed and suppl appl for award of costs
                           and attorneys' fees.

  295 -   2     12/17/01   Order granting unoppo mot for enlargement of time to 1/31/02 to file
                           responses to suppl and renewed mot for atty fees and costs (295-1). cc:
                           cnsl

  296 -   1     01/31/02   PLF 5 motion for a sur-reply re plfs' application for attorney's fees at
                           #294

  297 -   1     01/31/02   DEF 1-3; 5-11 (Fed defs) opposition to PLF 1-5 motion (renewed &
                           supplemental) for award of costs & attorneys' fees (294-1) w/att exh

  298 -   1     01/31/02   PLF 5 opposition to PLF 1-5 motion (renewed & supplemental) for award of
                           costs & attorneys' fees (294-1) w/att exhs

  299 -   1     02/05/02   DEF 1-11 opposition to PLF 5 motion for a sur-reply re plfs' application
                           for attorney's fees at #294 (296-1).

  300 -   1     02/08/02   PLF 1; 4 Unopposed motion for ext to 3/13/02 to reply to mot for costs &
                           fees

  300 -   2     02/11/02   Order granting unopposed motion for ext to 3/13/02 to reply to mot for
                           costs & fees (300-1). cc: cnsl

  301 -   1     02/11/02   HRH Order granting motion for a sur-reply re plfs' application for
                           attorney's fees at #294 (296-1). cc: cnsl

  302 -   1     02/11/02   DEF 1-3; 5-11 motion (fed defs) for leave to file response to state's
                           opposition w/att response to state's opp to application for attorney's
                           fees.

  303 -   1     03/07/02   HRH Order granting motion (fed defs) for leave to file response to
                           state's opposition (302-1). cc: cnsl

  304 -   1     03/07/02   DEF 1-3, 5-11 (Fed Defs) response to state's opp re: PLF 1-5 motion
                           (renewed & supplemental) for award of costs & attorneys' fees (294-1)

  305 -   1     03/11/02   PLF 1; 4 Unopposed motion for ext to 4/1/02 to reply re mot for costs &
                           fees

  305 -   2     03/12/02   Order granting unopposed motion for ext to 4/1/02 to reply re mot for
                           costs & fees (305-1). cc: cnsl

  306 -   1     04/01/02   PLF 1-4 Unopposed motion for ext to 4/5/02 to file reply to mot for
                           costs & fees

  306 -   2     04/02/02   Order granting unopposed motion for ext to 4/5/02 to file reply to mot
                           for costs & fees (306-1). cc: cnsl

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  307 -   1     04/05/02   PLF 1-4 motion to file overlength reply re #294 w/att reply

  308 -   1     04/08/02   HRH Order granting motion to file overlength reply re #294 (307-1). cc:
                           cnsl

  309 -   1     04/08/02   PLF 1-4 reply to opposition to PLF 1-5 motion (renewed & supplemental)
                           for award of costs & attorneys' fees (294-1)

  310 -   1     04/15/02   PLF 5 surreply re: PLF 1-5 motion (renewed & supplemental) for award of
                           costs & attorneys' fees (294-1)

  311 -   1     10/10/02   PLF 1-6 Notice of Supplemental authority re: PLF 1-5 motion (renewed &
                           supplemental) for award of costs & attorneys' fees (294-1)

  312 -   1     01/03/03   PLF 4 Address Change Notice of William Caldwell

  313 -   1     01/22/03   HRH Minute Order directing plfs to submit supp aff covering areas stated
                           re motion for attorneys' fees as soon as possible; state and/or fed defs
                           may submit a supp response w/i 7 days following filing. cc: cnsl

  314 -   1     01/29/03   PLF 1-5 Supplemental declaration of W. Caldwell re: PLF 1-5 motion
                           (renewed & supplemental) for award of costs & attorneys' fees (294-1).

  315 -   1     03/28/03   HRH Order granting/denying motion (renewed & supplemental) for award of
                           costs & attorneys' fees (294-1). cc: cnsl

  316 -   1     05/28/03   DEF 1-3 appeal to 9CCA of (276-1) filed 02/14/00, (315-1) filed
                           03/28/03. cc: cnsl, Judge Holland, 9CCA

 NOTE -   3     05/29/03   Notation (re: Appeal): forwarded appeal, representation statement & CADD
                           statement.

  317 -   1     06/09/03   Cy 9CCA Time Schedule Order. (316-1) cc:cnsl, Judge Holland, ECR

  318 -   1     09/25/03   9CCA Judgment/Final Order re: notice of appeal (316-1) that the
                           appellant's mot to dismiss this appeal GRANTED. Parties shall bear
                           their own costs. cc: cnsl, Judge Holland, A92-0264 CV (cert cy)

  319 -   1     10/24/03   PLF 1-3 Acknowledgement of payment of fees and cost.




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